                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 4:08-cr-41
 vs.                                                   )
                                                       )
 BRANDY BISHOP                                         )       MATTICE/CARTER

                                  MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on April 27, 2009, in
 accordance with Rule 46(c) of the Federal Rules of Criminal Procedure and 18 U.S.C. §§ 3143 and
 3148 on the Petition for Action on Conditions of Pretrial Release. Those present for the hearing
 included:

                (1) AUSA Mel Schwing for the USA.
                (2) The defendant, Brandy Bishop.
                (3) Attorney Chris Lanier for defendant.
                (4) U.S. Supervising Probation Officer David Croft.
                (5) Courtroom Deputy Kelli Jones.
                (6) Court Reporter Elizabeth Coffey.

        The defendant was advised of the allegations contained in the Petition for Action on
 Conditions of Pretrial Release.

         AUSA Mel Schwing called U.S. Supervising Probation Officer David Croft, who testified
 that on April 20, 2009, the defendant was found to be in possession of marijuana. Based on the
 rebuttable presumption, the seriousness of the underlying charges, and the testimony of USPO David
 Croft, I conclude the defendant has failed to abide by her conditions of release and that there are no
 conditions or combination of conditions that will ensure the safety of the community. She must
 therefore be DETAINED without bond as a danger to the community.

        SO ORDERED.

        ENTER.

        Dated: April 28, 2009                          s/William B. Mitchell Carter
                                                       UNITED STATES MAGISTRATE JUDGE




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